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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

CHARLES TOWNSLEY, et al.,           )
                                    )
     Plaintiffs,                    )
v.                                  )   Case No. 1:20-cv-00969-DAE
                                    )
INTERNATIONAL BUSINESS              )
MACHINES CORPORATION,               )
                                    )
      Defendant.                    )

             DEFENDANT’S MOTION FOR A PROTECTIVE ORDER
                 TO LIMIT SCOPE OF 30(B)(6) DEPOSITION




                              EXHIBIT 1
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